         Case 1:15-cv-03134-GLR Document 19 Filed 05/11/16 Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                (NORTHERN DIVISION)

MORIAH DEMARTINO,                              *

                Plaintiff,                     *

v.                                             *       Case No. 1:15-cv-03134-GLR

HAGERSTOWN COMMUNITY                           *
 COLLEGE, et al.,
                                               *
                Defendants.
                                               *
                NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
        Pursuant to Rule 41(a)(1)(A) of the Federal Rules of Civil Procedure, the parties hereby
stipulate to the dismissal with prejudice of all claims in this case.



      /s/ Steven L. Tiedemann                           /s/ David M. Wyand
     Steven L. Tiedemann (Bar No. 24794)               David M. Wyand (Bar No. 23413)
     10451 Mill Run Circle, Ste. 400                   Email: dwyand@rosenbergmartin.com
     Owings Mills, Maryland 21117                      Rosenberg Martin Greenberg, LLP
     (410) 356-8837                                    25 S. Charles Street, Suite 2115
                                                       Baltimore, Maryland 21201
     (443) 293-8877 Fax                                (410) 727-6600 (phone)
     steve@hardhatlegal.com                            (410) 727-1115 (fax)
     Attorneys for Plaintiff                           Attorneys for Defendants
